
PER CURIAM.
We affirm the summary denial of appellant’s rule 3.800(a) motion to correct illegal sentence, in which he challenges the Department of Corrections’ application of his court-ordered jail credit. Defendant should first exhaust his administrative remedies through the Department of Corrections. See Ward v. State, 974 So.2d 542 (Fla. 4th DCA 2008). If he is not satisfied with the Department’s ruling, he can then file a petition for writ of mandamus with the appropriate court. See Robinson v. State, 818 So.2d 543 (Fla. 2d DCA 2002).

Affirmed.

STEVENSON, DAMOORGIAN and CIKLIN, JJ., concur.
